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 4
     Attorney for Defendant CANDY MORRIS
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 7
                    IN THE UNITED STATES DISTRICT COURT
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,             )       CV-F-07-0009 LJO
11                                         )
           Plaintiff,                      )       STIPULATION AND REQUEST
12                                         )       FOR ORDER TO CONTINUE
                                           )        SENTENCING FROM
13                                         )       JULY 3, 2008 at 9:00 am
                                           )       to AUGUST 8, 2008 at 9:00 am
14                                         )
           v.                              )       New Date: August 8, 2008
15                                         )       Time: 9:00 a.m.
                                           )       Dept: LJO
16   CANDY MORRIS, et al.                  )
                                           )
17         Defendant.                      )
18         IT is hereby stipulated between counsel for the government and counsel for
19   Defendant that the sentencing date previously set for July 3, 2008 at 9:00 a.m. be
20   re-set to August 8, 2008, as the sentencing needs to follow the disposition of
21   codefendants’ case to achieve sentencing goals.
22
23   DATE: June 30, 2008             /s/ Katherine Hart
                                     KATHERINE HART
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25
     DATED: June 30, 2008            /s/ Karen Escobar
26                                   KAREN ESCOBAR, ASSISTANT UNITED
                                     STATES ATTORNEY
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28                                             1
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 1
                                         ORDER
 2
           Based on the stipulation between counsel, and for good cause existing, it is
 3
     hereby ordered that the sentencing date in the case of United States v. Candy
 4
     Morris, Case No. CR-F-07-0009 LJO be continued from July 3, 2008 to August
 5
     8, 2008 at 9:00 a.m.
 6
     IT IS SO ORDERED.
 7
     Dated:    July 1, 2008                 /s/ Lawrence J. O'Neill
 8   b9ed48                             UNITED STATES DISTRICT JUDGE
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